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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MARIA JOSE PIZARRO                       1:20-cv-05783-AKH
                  Plaintiff/Counterclaim
                  Defendant                         NOTICE OF MOTION
 v.                                               TO APPOINT RECEIVER
 EUROS EL TINA RESTAURANT LOUNGE
 AND BILLIARDS CORP., SANTIAGO
 QUEZADA, SANTIAGO QUEZADA JR.
                  Defendants/Counterclaim
                  Plaintiffs/Third-Party
                  Plaintiffs
 v.
 EMITON FERNANDEZ, NARCISO GOMEZ,
 JOSE E. CASTRO, TOMAS ANDRES
 PIZARRO ZEPEDA, ELADIO CASTRO
 PRODUCTIONS INC., ZOILIMAR MEJIA,
                  Third-Party Defendants


       PLEASE TAKE NOTICE that the plaintiff Maria Jose Pizarro moves this Court before the

Honorable Alvin K. Hellerstein at the United States Courthouse, 500 Pearl Street, New York, NY

10007, for an Order, pursuant to CPLR 5228, made applicable pursuant to FRCP 64 and 66:

       •   Appointing a receiver over all real property owned by defendant Santiago Quezada

           (“Mr. Quezada”) located in the Dominican Republic, including that identified in his

           bankruptcy schedules and Exhibit 3 to the accompanying declaration, Mr. Quezada’s

           2020 Mercedes Benz GLS located in the Dominican Republic and his 100% ownership

           interest in El Tina Fish Market Corp. (together, the “Property to be Received”).

       •   Directing Mr. Quezada to promptly transfer title to all Dominican real property

           constituting Property to be Received, and title and keys to the 2020 Mercedes Benz

           vehicle constituting Property to be Received to the receiver, so that the receiver can sell

           the same.

       •   Directing Mr. Quezada to turn over to the receiver all stock shares and/or certificates

           he holds in El Tina Fish Market Corp. so that the receiver can sell the shares, or collect
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          Mr. Quezada’s future distributions, dividends and/or profits from El Tina Fish Market

          Corp.

      •   Directing Mr. Quezada, if the aforementioned certificates of El Tina Fish Market Corp.

          stock are missing or unavailable, to execute and deliver (consistent with CPLR 5225(c))

          to the receiver, replacement stock certificates, a lost stock affidavit and/or any other

          instrument necessary to effectuate delivery of the stock to the receiver.

      •   Directing the receiver to distribute proceeds of the sale of the Property to be Received

          to Mr. Quezada’s judgment creditors, according to the priority determined by this

          Court.

      •   Authorizing the receiver to employ Dominican counsel, for the purpose of enforcing

          the receiver’s order of appointment within the Dominican Republic.

      •   Granting such other and further relief as this Court deems just and proper.

Dated: New York, NY                                 Amini LLC
       June 10, 2025

                                                    /s/ Jeffrey Chubak
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                                                    Pizarro
